     Case 1:23-mi-99999-UNA Document 1125-14 Filed 04/11/23 Page 1 of 2
                                                                             5HFHLYHG
                                                 EXHIBIT N                     

From:              Dorothy A. Watkins
To:                LoginLogin
Cc:                Jada Saunders; Paige Wright; Pam VanBaak
Subject:           EFILE LOGIN: Laribee, Carla v. Gypsum Express - 64399
Date:              Friday, March 10, 2023 3:52:13 PM




From: MZD-Maryanne Durden <mdurden@conroysimberg.com>
Sent: Friday, March 10, 2023 1:52 PM
To: 'Ashley H. Hulsey' <ashley@lawsonhealth.com>; 'Susan McKenzie' <susmckenzie@gmail.com>;
Robyn Monaco <robyn@raffaconsulting.com>; Dorothy A. Watkins <dwatkins@brconline.com>;
'Sean Alexander' <sean@autocrashanalysis.com>
Cc: Matthew Lawson <matt@lawsonhealth.com>; Danette <danette.sga@gmail.com>; JV-John
Viggiani <jviggiani@conroysimberg.com>; MUM-Mark A. Myers <mmyers@conroysimberg.com>;
JRA-Jennifer R. Atzert <jatzert@conroysimberg.com>; MXV-Meg Viggiani
<mviggiani@conroysimberg.com>
Subject: Laribee v. Gypsum Express, et al; Our Matter No. 2147392;

Good afternoon, Everyone,

“As you all know, responses to the subpoenas served by OC are due today (with the exception
of Dr. Folley). Please provide responses to the subpoena today, as required, however omitting
and privileged documents in your file relevant to the below items that may be in your files.

Specifically as the subpoena requests in paragraph 3 of Exhibit “A”, a complete copy of any
expert reports, including draft reports, Defendant objects to same. Even though your
Subpeona purports to be a Rule 45 subpoena, because it is directed at a retained expert,
documents responsive to the subpoena continue to be subject to Rule 26 restrictions. Rule
26(b)(3)(A) and (B) protect drafts of any report or disclosure required under Rule 26(a)(2),
regardless of the form in which the draft is recorded.

Additionally, as it relates to paragraph 11 of Exhibit “A” and the request for “All
correspondence..” including emails…in connection with this matter…including but not limited
to any and all correspondence from [defendant or their attorneys]. Defendants continues their
objection to same as such correspondence/communication is protected by Rule 26(b)(3)(A)
and (B) communications between the party’s attorney and any witness required to provide a
report under Rule 26(a)(2)(B), regardless of the form of the communications, except to the
extent that the communications:

           (i) relate to compensation for the expert's study or testimony;

           (ii) identify facts or data that the party’s attorney provided and that the expert
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considered in forming the opinions to be expressed; or

        (iii) identify assumptions that the party’s attorney provided and that the expert relied
on in forming the opinions to be expressed.”



                                                      MARYANNE DURDEN
                                                              PARALEGAL
                                                      (904) 296-6004
                                                      (904) 470-4050 (Direct)
                                                      (904) 296-6008 (Fax)

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We respectfully request that you send any documentation/correspondence
electronically instead of via mail or fax if you are able.
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by reply e-mail, delete this message and its attachments and, if the recipient is an attorney or legal assistant, please immediately comply
with Florida Rule of Civil Procedure 1.285(b). Do not disclose the contents or take any action in reliance upon the information contained
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that might affect any computer system into which it is received and opened, it is the responsibility of the recipient to ensure that it is virus
free and no responsibility is accepted by Conroy Simberg for damage arising in any way from its use.
